
CO ALTER, J.,
delivered the resolution of the court:
That the 37th section of the statute concerning sheriffs, does not authorise a summary proceeding by motion by the sureties of a sheriff or collector, for a judgment for money paid by such sureties for their principals : the provision was only intended to bind the lands of the sheriff, to his sureties who pay his debt to the public, in like manner as his lands are bound to the commonwealth; and, a judgment being previously obtained for the sureties against the principal or his representatives, to au-thorise the court, upon motion, to award a like execution thereupon, against the lands in the hands of the principal, his heirs or devisees, as might be issued on a judgment for the commonwealth against the principal for the same debt. And that, taking-the motion in this case, as a motion made under the 1st section of the statute providing the summary remedy for sureties, that statute does not authorise a judgment, in this form of proceeding, against devisees; and as the judgment here charges the plaintiffs in error both as heirs and devisees, the court, without deciding any other question made in the case, was of opinion that the judgment was erroneous.
Judgment reversed.
